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                          UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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      PARIVASH HEKMAT                    ) Case No. 16-cv-02194-BTM-JLB
11                                       )
                                         )
12
                   Plaintiff,            )
13                                       ) ORDER GRANTING JOINT
             vs.                         ) MOTION TO DISMISS
14
                                         )
15    GC SERVICES LIMITED                )
      PARTNERSHIP                        )
16
                                         )
17                 Defendant.            )
      __________________________________ )
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19         Pending before the Court is the parties’ joint motion to dismiss this action in its
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     entirety with prejudice. Having read the moving papers, and good cause appearing, the
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     court GRANTS the motion, and DISMISSES WITH PREJUDICE the complaint in
22

23   its entirety. Each party shall bear their own costs and expenses.
24
     IT IS SO ORDERED.
25
     DATED: December 21, 2016
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27                                                 Hon. Judge Barry Ted Moskowitz
                                                   United States District Judge
28



                                              ORDER
